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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------x

FRED WALFISH,                                        :    16-Cv-5534 (SHS)

                          Plaintiff,                 :    ORDER

                 -v-                                 :

NORTHWESTERN MUTUAL LIFE                             :
INSURANCE COMPANY, ET AL.,
                                                      :
                           Defendants.
------------------------------------------------------x

SIDNEY H. STEIN, U.S.D.J.

       The parties are directed to file a joint status report on or before October 30, 2020 (see
Order dated April 16, 2020 [Doc. No. 124]).

Dated: New York, New York
       October 16, 2020
